         Case 3:20-cr-00347-SCC Document 11 Filed 10/22/20 Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA                        Criminal no. 20-347 (SCC)
   Plaintiff,
                 v.

 KENNETH TOSADO PEREZ
   Defendant.

           MOTION TO INFORM WAIVER OF APPEARANCE AT ARRAIGNMENT
TO THE HONORABLE COURT:

       Comes now the defendant, Mr. Tosado Pérez, and respectfully states and prays as follows:

   1. Mr. Tosado Perez informs that in accordance with Rule 10(b) of the Federal Rules of

       Criminal Procedure he waives his right of appearance at his arraignment.

   2. At this time, Mr. Tosado Pérez is detained at the Metropolitan Detention Center, in Cataño,

       Puerto Rico, and due to the COVID-19 restrictions, it is necessary to arrange with the

       facility's legal department a meeting with Mr. Tosado Pérez to secure his signature on a

       Waiver of Appearance form, and then file it with the Court for its inspection and approval.

       WHEREFORE, the undersigned respectfully requests that the Court takes note of the

present motion and authorize a brief continuance to allow for Mr. Tosado Pérez to file a waiver

of appearance form.

   RESPECTFULLY SUBMITTED.

   In San Juan, Puerto Rico, this 22th day of October 2020.

   I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S.

Attorney’s Office.


                                   s/ Diego H. Alcalá Laboy
Case 3:20-cr-00347-SCC Document 11 Filed 10/22/20 Page 2 of 2




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